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                           UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,              )                NO. 1:06-CR-00235 AWI
                                       )
             Plaintiff,                )                ORDER OF DETENTION FOLLOWING
                                       )                REVOCATION OF PREVIOUSLY SET
          V.                           )                CONDITIONS OF RELEASE
                                       )
ERNEST CRUZ ECHEVESTE                  )
                                       )
             Defendant                 )
______________________________________ )

      A. Order for Revocation And Detention
             After conducting a hearing pursuant to 18 U.S.C. § 3148(h) on the government’s motion
      for revocation of the previous order for release, the Court orders the previous conditions of
      pretrial release revoked and this defendant detained.
      B. Statement of Reasons For The Revocation And Detention
             The Court orders the revocation of pretrial release conditions and the defendant’s
      detention because it finds:


             _x____     There is clear and convincing evidence that this defendant has violated a
                     condition or conditions of release, to wit: dirty test for methamphetamine
                     and
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            __x___ That this defendant is unlikely to abide by any condition or combination of
                    conditions of release.
IT IS SO ORDERED.

Dated:   September 26, 2006                  /s/ Lawrence J. O'Neill
b9ed48                                 UNITED STATES MAGISTRATE JUDGE
